
USCA1 Opinion

	










          May 8, 1996


                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          No. 95-2090

                           HECTOR RODRIGUEZ-GUZMAN, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                           HON. VYDIA GARCIA, ETC., ET AL.,

                                Defendants, Appellees.
                                 ____________________


                                     ERRATA SHEET


               The opinion of this  court dated April 25, 1996,  is amended
          as follows:

               Page 2,  second paragraph, line  7, add the  following after
          "relocation":   "procedures  were  administered in  a politically
          discriminatory manner."


































          April 26, 1996        [NOT FOR PUBLICATION] 

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          No. 95-2090

                           HECTOR RODRIGUEZ-GUZMAN, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                           HON. VYDIA GARCIA, ETC., ET AL.,

                                Defendants, Appellees.
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, II, Senior U.S. District Judge]
                                         __________________________
                                 ____________________


                                        Before

                               Torruella, Chief Judge,
                                          ___________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                               and Cyr, Circuit Judge.
                                        _____________

                                 ____________________

               Raul Barrera  Morales with whom Jesus  Hernandez Sanchez was
               _____________________           ________________________
          on brief for appellants.
               Graciela J. Belaval for appellees.
               ___________________

                                 ____________________


                                 ___________________











                                         -2-














               Per  curiam.   Plaintiffs  are  61 former  employees  of the
               ___________

          Puerto  Rico Housing  and  Urban Renewal  Corporation (CRUV)  who

          primarily claim  that they were dismissed  from public employment

          based on their political affiliation, in violation of their First

          Amendment rights.1   The district court  granted summary judgment

          for  the defendants,  concluding that  the plaintiffs  had relied

          "solely  on conclusory arguments and unsubstantiated allegations"

          and thus had failed to establish  a prima facie case of political

          discharge.    We  agree  that the  plaintiffs  have  not  offered

          competent evidence to rebut defendants'  motion, and consequently

          affirm.

               We see  no need  to revisit  the facts ably  set out  by the

          district  court.  Guzman v. Garcia, 901 F.Supp. 45 (D.P.R. 1995).
                            ______    ______

          For the sake of context, we note only that the claims concern the

          relocation of employees who had been working for CRUV at the time

          the Legislature decided to  dissolve the agency.   CRUV employees

          were ensured  priority in hiring elsewhere  in the Commonwealth,2
                              
          ____________________

               1 The complaint asserts  a host of other unlawful  bases for
          defendants' actions, including age discrimination and retaliation
          for  participation in  labor protests.   Plaintiffs also  claim a
          deprivation  of due  process  in the  termination procedures  and
          allege a conspiracy in violation of 42 U.S.C.   1985.
               The age  discrimination, due  process and conspiracy  claims
          are mentioned in the  brief without discussion, and there  is not
          even  a reference to any other basis  for recovery.  We have long
          held that  issues addressed  in a  perfunctory manner  are deemed
          waived, see, e.g., United States v. Zannino, 895 F.2d 1, 17  (1st
                  ___  ____  _____________    _______
          Cir.  1990), and that principle  operates in all  its force here.
          We  therefore  have  considered  only the  claim  of  politically
          motivated discharge.

               2 Contrary  to  plaintiffs,  we  do not  read  the  relevant
          authorities -- Law 55 and Executive Order 1991-63 -- to guarantee
          employment,  but rather  to guarantee  relocation assistance  and

                                         -3-














          and  this  case  centers  on  plaintiffs'  allegations  that  the

          relocation   procedures  were   administered  in   a  politically

          discriminatory manner.

               Nor is it necessary  to engage in a lengthy  dissertation on

          the inadequacies of plaintiffs' showing.  Indeed, their appellate

          argument  comprises  less than  six  pages,  and its  centerpiece

          consists of two types  of evidence: first, hiring  statistics for

          the  Commonwealth government overall in 1991 and 1992 and for the

          Housing   Department  in   particular,   and,  second,   reported

          statements from several non-defendants  expressing discriminatory

          animus  toward  members of  the  New  Progressive Party  ("NPP").

          Neither  the  statistics nor  the  quoted  comments --  seemingly

          hearsay  and thus  inadmissible at  trial --  provide evidentiary

          support for plaintiffs' assertion  that they were not transferred

          because of their political beliefs.3

               We have looked  carefully at  the statements  filed by  each

          plaintiff as part of an Appendix to their Motion in Opposition to

          Defendants' Motion to Dismiss.  These statements contain a jumble

          of allegations, many  of which have nothing to do  with the claim

          of  discriminatory implementation  of the  relocation procedures.

                              
          ____________________

          priority in hiring during the year after CRUV's closing. 

               3 Although plaintiffs emphasize the defendants' antipathy to
          the New Progressive Party, only 40 of them are NPP  members.  Six
          are  members  of  the Puerto  Rico  Independence  Party,  six are
          members  of  the Popular  Democratic  Party  ("PDP") who  do  not
          support the incumbent PDP governor, and nine do not identify with
          any  party.   Plaintiffs  therefore  necessarily  claim that  the
          discrimination is  not against  any particular party  but against
          all those who do not share the defendants' political perspective.

                                         -4-














          Several of the statements directly belie such a claim,  asserting

          that  job  offers   were  made  but  withdrawn   because  of  the

          plaintiffs' participation in this  litigation.  Regardless of the

          lawfulness  of such retaliatory conduct,  it is not  the basis of

          the claim raised to us.4

               Some plaintiffs similarly  attribute discrimination  against

          them  to their  participation in  labor protests.   Some  make no

          specific reference  to the process following  CRUV's dissolution,

          and instead  refer to continuous employment  discrimination since

          the  Popular  Democratic Party  (PDP) took  power  in 1985.   One

          plaintiff who  identifies  himself as  non-political,  stated  "I

          don't know" in  completing a  portion of the  standard form  that

          began "I was discriminated because . . . ."  Another acknowledges

          that she was offered a job, but complains  that the procedure was

          rushed  and irregular.  Yet another states that he was reinstated

          in  the  same   position  and  salary   after  eight  months   of

          unemployment, which appears to  be within the one-year relocation

          period  prescribed by Law 55,  the statute dissolving  CRUV.  And

          another  states that he was offered relocation but did not accept

          the  new  position  because  "I consider  it  a  degradation  and

          demotion." 

                              
          ____________________

               4  In their  Opposition  to Defendants'  Motion for  Summary
          Judgment, plaintiffs did  not dispute defendants'  statement that
          many  known NPP  followers had  been hired during  the relocation
          process,  responding instead:  "The Trustee  Office discriminated
          against former CRUV's employees for their exercising of the right
          to  file  this  case,  which  is  violation  of plaintiffs  First
          Amendment  protected rights."  As  noted earlier,  however,  this
          claim is not raised on appeal.

                                         -5-














               In  addition,  plaintiffs  fail  to  respond  to  statistics

          offered  by the defendants to  show that many  NPPs -- presumably

          including  some of the plaintiffs  -- were relocated.   Of CRUV's
                                                ____

          421 regular employees, plaintiffs claim that 65 percent -- 275 --

          were NPPs.   Of the 87  employees who initially lost  their jobs,

          about  40 were  NPPs.   Fifty-two of  those left  unemployed were

          relocated  within  one  year,   including  all  but  20   of  the

          plaintiffs.5  In other words, only  20 of the 61 plaintiffs (plus

          15  non-plaintiffs) were not placed  in new jobs  within the one-

          year relocation period.  These numbers, showing that only a small

          percentage of CRUV's NPP employees were not relocated, do not add

          up to proof of discrimination based on political affiliation.

               In concluding  that plaintiffs  have  failed to  demonstrate

          that  the district court  erred in granting  summary judgment for

          defendants,  we do not discount the possibility that some of them

          suffered from  politically based employment discrimination.   The

          history of  politics in  Puerto Rico makes  plausible plaintiffs'

          allegations that PDP members  expressed antipathy for NPP members

          and  over  the  years  gave  favorable  treatment  to  their  own

          partisans.   On  the  narrow question  before  us at  this  time,

          however --  whether a material factual  dispute exists concerning

          the constitutionality  of defendants' implementation of  the CRUV

          relocation  procedure  --  plaintiffs have  not  demonstrated  an

          entitlement to trial.

                              
          ____________________

               5  We are not told  the political affiliation  of the 20 who
          remained unemployed.

                                         -6-














               The judgment  of the  district court is  therefore affirmed.

          Double costs to appellee.


















































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